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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

SEIFULLAH CHAPMAN,

         Movant,
                                                     Criminal Case No. 1:03-cr-296-A
    v.

UNITED STATES OF AMERICA,

         Respondent



    MEMORANDUM IN SUPPORT OF MOTION FOR EARLY TERMINATION OF
         SUPERVISED RELEASE PURSUANT TO 18 U.S.C. § 3583(e)(1)


         Defendant, SEIFULLAH CHAPMAN, hereby moves the Court to terminate his term of

supervised release pursuant to 18 U.S.C. § 3583(e)(1). In support thereof, he states as follows:

                                       INTRODUCTION

         Mr. Chapman’s exceptional conduct, both in prison and since his release, shows that he

poses no threat to the public and has been sufficiently punished and deterred from future criminal

conduct. While incarcerated, Mr. Chapman was a model and non-violent prisoner; similarly, he

has served more than fifteen months of supervised release without any complications or

infractions. While the U.S. Probation Office for the District of Maryland 1 declined to take a

position on this motion, upon conferral with undersigned counsel Mr. Chapman’s probation

officer, Carrie Lacy, indicated that he has been cooperative and fully compliant with his terms of




1
 The U.S. Probation Office for the District of Maryland has been responsible for Mr. Chapman’s
supervision because he lives in Maryland.
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supervised release.2 Accordingly, Mr. Chapman maintains continuation of his supervised release

is an unnecessary drain on the resources of the United States Probation Department.

       On July 29, 2005, this Court sentenced Mr. Chapman to a total of 780 months

imprisonment, with credit for time served.3 ECF No. 600. The Court imposed a sentence of 60

months for Count 1 (conspiracy in violation of 18 U.S.C § 371), 120 months for Count 5

(conspiracy to contribute material support to Lashkar-e-Taiba (LET)), and 120 months for Count

11 (conspiracy to possess and use firearms in connection with a crime of violence in violation of

18 U.S.C § 924(o)), all of which ran concurrently. Id. On Counts 20 and 22 (use and possession of

firearms in connection with a crime of violence in violation of 18 U.S.C § 924(c)), this Court

sentenced Mr. Chapman to a total of 660 months imprisonment to run consecutively to the first

three counts. Id. However, on July 19, 2018, this Court vacated Mr. Chapman’s convictions under

Counts 11, 20, and 22 and ordered his immediate release from prison because he had already served

more time than required for the 120-month sentence imposed by Counts 1 and 5. ECF No. 915. In

total, Mr. Chapman served 177 months in prison, almost 57 months more than his remaining

convictions required. Id. In addition to the almost five-year discrepancy between time served and

his sentence, Mr. Chapman has served fifteen months on supervised release.

       Mr. Chapman’s three-year term of supervised release began upon his release from prison

on July 20, 2018. ECF No. 915. Now almost 50 years old, Mr. Chapman, a medically discharged

Marine veteran, lives in Maryland with his family and maintains steady employment. For the last




2
  Officer Lacy indicated to undersigned counsel that she is willing provide the Court with
compliance documents upon request.
3
  The Court initially sentenced Mr. Chapman to a term of imprisonment of 1,020 months. See
ECF No. 543. After the Supreme Court’s decision in United States v. Booker, 543 U.S. 220
(2005), the Court reduced Mr. Chapman’s sentence to 780 months at a resentencing hearing.
ECF No. 583.
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fifteen months, Mr. Chapman has successfully juggled running a household, fulfilling his roles as

a father, husband, and teacher, and dedicating himself to education, faith, and exercise, all while

managing his severe Type 1 Diabetes. Accordingly, Mr. Chapman respectfully submits that the

interests of justice warrant early termination of his supervision, and he requests this Court to order

termination of his supervised release.

                                       LEGAL STANDARD

        Under 18 U.S.C. § 3583(e)(1), this Court is empowered to modify a term of supervised

release “at any time after the expiration of one year of supervised release. . . if it is satisfied that

such action is warranted by the conduct of the defendant released and the interest of justice.” When

considering early termination, § 3583(e)(1) requires this Court to consider the following factors

contained in 18 U.S.C. § 3553:

        1.      § 3553(a)(1): “the nature and circumstances of the offense and the

                history and characteristics of the defendant;”

        2.      § 3553(a)(2)(B): “the need for the sentence imposed. . . to afford

                adequate deterrence to criminal conduct;”

        3.      § 3553(a)(2)(C): “the need for the sentence imposed . . . to protect the

                public from further crimes of the defendant;”

        4.      § 3553(a)(2)(D): “the need for the sentence imposed to provide the

                defendant with needed educational or vocational training, medical care,

                or other correctional treatment in the most effective manner;”

        5.      § 3553(a)(4): “the kinds of sentence and the sentencing range

                established” by the sentencing guidelines;




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       6.      § 3553(a)(5): “any pertinent policy statement—issued by the Sentencing

               Commission. . . that . . . is in effect on the date the defendant [wa]s

               sentenced;”

       7.      § 3553(a)(6): “the need to avoid any unwarranted sentence disparities

               among defendants with similar records who have been found guilty of

               similar conduct;” and

       8.      § 3553(a)(7): “the need to provide restitution to any victims of the

               offense.

See also United States v. Chapman, 827 F. Supp. 369, 371 (E.D.Va. 1993) (stating that § 3583

unequivocally grants authority to a district court to order early termination of a term of supervised

release after one year of the term has been served).

                                           ARGUMENT

       Having served fifteen months of his term of supervised release, Mr. Chapman satisfies §

3583(e)(1)’s threshold requirement that he serve one year of supervised release in order to be

eligible for early termination. This motion demonstrates in three parts that early termination is

warranted: First, it argues that the nature and circumstances of Mr. Chapman’s convictions do not

support further supervision. Second, it argues that Mr. Chapman's conduct and experience in prison

demonstrate that he has been sufficiently punished and deterred from criminal conduct. Third, it

argues that Mr. Chapman has seamlessly reintegrated into society, has worked, and continues to

work, tirelessly every day to support his family and to stay healthy, and has no intention or desire

to participate in criminal activity. For these reasons, Mr. Chapman respectfully requests that this

Court order the early termination of his supervised release as such an order is warranted by his

exceptional post-release conduct and the interests of justice in this case.



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   I.       THE NATURE AND CIRCUMSTANCES OF MR. CHAPMAN’S
            CONVICTION SUPPORT EARLY TERMINATION OF HIS TERM OF
            SUPERVISED RELEASE.

         Upon consideration of the sentencing factors in 18 U.S.C. § 3553, Mr. Chapman’s

supervised release should be terminated early. Regarding § 3553(a)(1), (a)(2)(C), and (a)(7), Mr.

Chapman’s convictions were for non-violent conduct that did not result in harm to the person or

property of another, and he was not ordered to pay restitution. ECF No. 914 at 30; ECF No. 561

at 97:17-21. In light of these factors and the nature of Mr. Chapman’s conduct and conviction, this

Court should conclude early termination of his supervised release is warranted.

         In 2004, this Court convicted Mr. Chapman of providing material support to LET in

violation of 18 U.S.C. § 2339A and of conspiracy in violation of 18 U.S.C. § 371. ECF No. 914 at

2-3. But this Court has found that “none of [Mr. Chapman’s] actions involved either [his] actual

use of force or a substantial risk that [he] would use force.” Id. at 30. Indeed, the Court concluded

that “[b]ased on the evidence introduced at trial, the government has not shown that [Mr.]

Chapman, for example, traveled to the front lines or any area of active combat, discharged a

firearm in any context other than target practice, or otherwise used force against the person or

property of another.” Id. Quite simply, Mr. Chapman’s conduct did not rise to the level of a “crime

of violence.” Id. Given that Mr. Chapman did not engage in violent conduct and that he has no

restitution to be paid, the nature and circumstances of his original conviction do not justify

continuation of the current term of supervised release.

   II.      MR. CHAPMAN’S NEARLY FIFTEEN YEAR IMPRISONMENT IN THE BOP
            AND HIS CONDUCT WHILE IN PRISON SUPPORT EARLY TERMINATION
            OF SUPERVISED RELEASE.

         Mr. Chapman’s prison sentence provided a sufficient deterrent from future criminal

activity such that further supervision is unnecessary. See 18 U.S.C. § 3553(a)(2)(B). Mr. Chapman



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has brittle Type 1 diabetes, ECF No. 817-1 at ¶ 7, and he spent much of his time in prison focused

on ensuring that he had the tools necessary to treat his diabetes. See, e.g., ECF No. 817-3 at ¶ 11.

Nevertheless, Mr. Chapman used his time in prison well. He participated in classes and programs

offered by the Federal Bureau of Prisons (BOP) for the purpose of rehabilitation, and he supported

and encouraged his fellow prisoners to follow a similar rehabilitative path. Reflective of Mr.

Chapman’s focus on rehabilitation, he accrued nearly two years of good conduct time while

incarcerated. See Exhibit 1 at 3 (Sentence Monitoring Report). Additionally, Mr. Chapman served

nearly five years more than his remaining sentences required. It is in the interest of justice to

terminate his supervised release early.

       Mr. Chapman’s extensive time in BOP custody and the restrictive environment of prison

proved sufficient to deter any reasonable person from criminal activity. While in BOP custody,

Mr. Chapman relied on the BOP for his diabetes care, and the BOP’s inconsistent provision of the

medicine, food, and supplies necessary to manage his diabetes made it difficult for him to maintain

a safe range of blood sugar numbers. ECF No. 817-1 at ¶¶ 7, 14-17. He constantly worried about

how he could manage his diabetes in the restrictive prison setting. ECF No. 817-3 at ¶¶ 7,11. While

at the United States Penitentiary-Lewisburg (USP-Lewisburg) on June 26, 2009, the medical staff

stopped giving Mr. Chapman insulin in an effort to “cure” Mr. Chapman of his Type 1 diabetes.

See Exhibit 2 at ¶¶ 16-19 (September 14, 2017 Declaration of Seifullah Chapman in Chapman v.

Federal Bureau of Prisons, No. 15-cv-00279-WYD-KLM (D. Colo.)). This “cure” almost killed

him. Id. at ¶ 18. This incident, among others, prompted this Court to issue emergency orders to

protect Mr. Chapman’s health and well-being while in BOP custody. See, e.g., ECF No. 598; ECF




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No. 715.4 The difficulty Mr. Chapman endured in managing his diabetes during his incarceration

made his sentence particularly severe, such that it would deter any reasonable person from

engaging in conduct that might once again subject him to imprisonment.

       Despite the difficulties he faced with his health, Mr. Chapman worked hard to be a model

prisoner. He was never involved in gang activity, drugs, or violence. See Exhibit 3 (ECF No. 905-

7, Inmate Discipline Data); Exhibit 4 at ¶ 4 (January 30, 2018 Declaration of Seifullah Chapman

in Chapman v. Federal Bureau of Prisons, No. 15-cv-00279-WYPD-KLM (D. Colo.)). While in

BOP custody, Mr. Chapman received only two disciplinary infractions. Id. The first infraction, for

praying in a group of three, occurred on February 25, 2009 at the United States Penitentiary-Terre

Haute (USP-Terre Haute), in Terre Haute, Indiana. ECF No. 817 at 11. As a result of this

infraction, BOP officers sanctioned Mr. Chapman by revoking his email privileges. Id. Mr.

Chapman, not realizing the sanction went into effect immediately, sent two emails to explain to

his wife and attorney that he would not be able to communicate further via email due to the

sanctions. Id. Mr. Chapman received his second infraction for sending these emails. Id.

Importantly, neither of these infractions involved violent behavior. Id.




4
  As Mr. Chapman has previously indicated in prior filings with this Court, he filed a lawsuit in
2015 seeking injunctive relief against the BOP for the violation of his Eighth Amendment right to
adequate medical care due to the BOP’s failure to treat his Type 1 diabetes. See generally Chapman
v. Federal Bureau of Prisons, 291 F. Supp. 3d 1260, 1264 (D. Colo. 2018) (denying Defendant
BOP’s motion for summary judgment). After Mr. Chapman’s release from prison, the District of
Colorado administratively closed his case. See Exhibit 8 at 3 (Order of Administrative Closure,
Chapman v. Federal Bureau of Prisons, No. 15-cv-QYPD-KLM (D. Colo.)). The Court reasoned
that administrative closure was the most “appropriate and prudent” course of action given that Mr.
Chapman’s return to prison was still possible. Id. Because Mr. Chapman still faces the possibility
of returning to prison, see 18 U.S.C. § 3583(e)(3) (stating that a court may revoke supervised
release and require a defendant to serve the remainder of the supervision term in prison), he is
hesitant to dismiss this claim while on supervised release. He will be able to confidently do so if
his supervised release is terminated.
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       After Mr. Chapman received these two infractions, the BOP transferred him to the Special

Management Unit at USP-Lewisburg. See Ex. 2 at ¶ 15. After attempting to “cure” Mr. Chapman

of his diabetes, as described above, the BOP transferred Mr. Chapman to Federal Medical Center-

Springfield (FMC-Springfield) in Springfield, Missouri. See Exhibit 5 at 2 (transfer record). While

at FMC-Springfield, the BOP confined Mr. Chapman in solitary confinement for over a year while

it attempted to stabilize his diabetes. See Ex. 2 at ¶¶ 19-20. Subsequently, the BOP transferred Mr.

Chapman to the United States Penitentiary-Administrative Maximum (ADX) in Florence,

Colorado, citing security concerns based on his two non-violent infractions. See Ex. 5 at 4-12.

       Mr. Chapman spent almost five years at ADX. Id. While all federal prisons are inherently

restrictive, ADX is one of the most restrictive prisons in the United States.5 Similar to the solitary

confinement conditions he faced at FMC–Springfield, Mr. Chapman spent 22-24 hours a day in

his cell. See Ex. 2 at ¶¶ 20, 24-25. The BOP allowed him only one hour of recreation time outside

of his cell, and his only social interaction occurred during communications with correctional

officers or medical personnel. Id. While housed at ADX and FMC-Springfield, Mr. Chapman lived

in complete isolation for over six years of his life. See Ex. 2 at ¶¶ 20, 25.

       Although Mr. Chapman’s time in prison was difficult, he used his time in prison well and

took advantage of rehabilitative programming made available to him throughout his incarceration.

At the time of his 2005 resentencing hearing, Mr. Chapman lived in the Alexandria jail, and he

spent his time teaching ESL and GED classes. See Exhibit 6 at 14:14-17 (ECF No. 615). While in

BOP custody, Mr. Chapman completed a minimum of 58 classes and programs. ECF No. 817-6




5
     See   generally,    USP       Florence      Admax,       Federal    Bureau    of     Prison,
https://www.bop.gov/locations/institutions/flm/ (last visited Oct 29, 2019); Mark Binelli, Inside
America’s Toughest Federal Prison, The New York Times Magazine (March 26, 2015),
https://www.nytimes.com/2015/03/29/magazine/inside-americas-toughest-federal-prison.html.
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(reflecting Mr. Chapman’s educational programming through 2016); ECF No. 905-8 (certificates

and reports reflecting Mr. Chapman’s programming).

       While participating in this rehabilitative programming, Mr. Chapman served as mentor and

role model to his fellow prisoners in BOP custody. Toward the end of his incarceration, while in

custody at USP-Terre Haute, Mr. Chapman completed the Life Connections Program (LCP), a

pre-release program that encourages personal growth and responsibility. ECF No. 905-9. The

program allows prisoner-participants to use their personal religion to facilitate progress in

rehabilitation. Id. Mr. Chapman completed the program at the head of his cohort, prompting BOP

officials to ask him to deliver the graduation speech. ECF No. 905-11; Ex. 4 at ¶ 8. The program

leaders also asked Mr. Chapman to stay in the unit after his graduation to be a mentor for future

participants. Ex. 4 at ¶ 10. This role was not unfamiliar to Mr. Chapman, who often served as a

peaceful and kind source of support to other Muslim prisoners. See generally, Ex. 4 at ¶ 8-10.

       Finally, Mr. Chapman remained devoted to his daughters while he was in prison. Although

it was difficult to stay connected to his family while incarcerated, Mr. Chapman made every effort

to be a part of their lives and to co-parent them as much as possible with his wife Olla. While

incarcerated, Mr. Chapman’s daughters would send him copies of their homework, so that he could

complete it and go over it with them when they spoke on the phone. Similarly, Olla sent Mr.

Chapman copies of parenting books while he was incarcerated so that Mr. Chapman could read

the books and discuss with Olla ways to approach parenting two teenage daughters. Although this

was an unsatisfying way of being a father, through these efforts, Mr. Chapman stayed connected

and close to his family. The close-knit nature of his family has been a constant for Mr. Chapman

as he transitioned from prison back to society, as discussed in more detail below.




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          Mr. Chapman’s time in prison, his behavior during incarceration, the difficulties he faced

due to his diabetic care, and his resilience throughout the last 15 years show his character as a

reliable family man committed to his faith and health. He did everything he could to succeed in

prison, and he continues to do everything he can to successfully reintegrate into society.

   III.      MR. CHAPMAN’S SUCCESSFUL REINTEGRATION INTO THE
             COMMUNITY WARRANTS EARLY TERMINATION OF SUPERVISED
             RELEASE.

          Under 18 U.S.C. § 3583(e)(1), early termination of supervised release is warranted “if [the

Court] is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice”. Mr. Chapman has shown through his conduct that he has successfully

reintegrated into the community and that continued supervision is unnecessary. Mr. Chapman is a

productive member of society who supports his family, has a career serving others, cares about his

health, and follows all terms of his supervised release. The purpose of supervised release is to

rehabilitate a defendant by facilitating reintegration into the community. U.S. v. Johnson, 529 U.S.

53, 59 (2000). Mr. Chapman is wholly reintegrated into his community; thus, the purpose of

supervised release has already been achieved and continued supervision is unnecessary.

          It is in the interest of justice to terminate Mr. Chapman’s supervised release. Mr.

Chapman’s life since his release from prison consists of busy days fulfilling his roles as a father,

husband, and teacher. At almost 50 years old, Mr. Chapman has shown remarkable success

reintegrating into society after just one year, despite being imprisoned for nearly 15 years. He

embraces his responsibilities as a father and husband and maintains a stable home and




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       Mr. Chapman, his daughter Yasmeen, and their dog Romeo hiking at a waterfall.

employment. Mr. Chapman spends his days productively: he wakes up at 5:30 AM to pray, reads

the Quran, spends two hours exercising, prepares for his tutoring job, spends five hours tutoring,

and then goes to bed. Additionally, Mr. Chapman takes care of his household—running errands,

cleaning, shopping, weather-proofing the home, paying bills, and working on his daughter’s car.

       Section 3553(a)(1) requires the Court to consider whether the characteristics of Mr.

Chapman warrant termination of supervised release. Mr. Chapman’s conduct demonstrates that he

has the characteristics of a stable and healthy member of society—he is a caring, supportive family

man whose conduct does not warrant further supervision. Mr. Chapman is a devoted husband to

his wife, Olla, and proud father of two daughters, Yasmeen and Ameera. His eldest daughter,

Yasmeen, is a junior at the University of Maryland studying dietetics. His youngest daughter,

Ameera, is 17-years-old and is enrolled in a community college with hopes to enter a pre-medicine

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program. Education is important to Mr. Chapman and his family, and Mr. Chapman consistently

does everything he can to help his daughters succeed. Mr. Chapman and his family live under one

roof so he and his wife can support their daughters as they further their education. When he realized

his daughter was having difficulty getting to and from class, he saved up to buy her a car.




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             Mr. Chapman and his daughter Yasmeen at her graduation ceremony.




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      Mr. Chapman, his wife Olla, and his daughter Yasmeen at her graduation ceremony.

Mr. Chapman chooses to spend his time caring for and supporting his family and wants to continue

doing so. Mr. Chapman would like to visit with his son, Elijah, from his first marriage. However,

because his son lives in Virginia, supervised release makes seeing Elijah difficult. Termination of

supervised release would allow Mr. Chapman to better support members of his close-knit family.

       In addition to spending time with his family, Mr. Chapman has secured steady employment

since his release. Throughout his life, one thing has remained steadfast: Mr. Chapman’s desire to

help others. He joined the Marine Corps at a young age, spurred by a childhood dream of serving

his country. While his career in the Marines was cut short due to his medical condition, he still

looks fondly on his time in service and proudly identifies as a Marine. Having obtained two college


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degrees,6 Mr. Chapman has long believed in the importance of education. Since his release, he has

returned to teaching—he works as a private tutor helping students excel in English and math.

Determined to fully reintegrate into contemporary society, Mr. Chapman successfully taught

himself (with some help from his daughters) modern technology and utilizes it to teach his students

via webcam. Mr. Chapman also aspires to help others live pain-free and healthy lives. To this end,

Mr. Chapman obtained a certificate for completing a beginner’s course in hijama, an ancient form

of cupping therapy known to help alleviate pain and inflammation. See Exhibit 7 (copy of Mr.

Chapman’s Hijama certificate). Inspired to explore this career field after experiencing the effects

of hijama on himself, Mr. Chapman is working towards an advanced certificate to help others live

happy, healthy, and pain-free lives. Mr. Chapman’s post-release conduct demonstrates that he is

devoted to helping others better themselves, conduct that warrants early termination of supervised

release. See 18 U.S.C. § 3583(e)(1).

       Since his release, Mr. Chapman remains diligent in managing his Type 1 diabetes, and he

feels healthier than he has in years. As he did in prison, Mr. Chapman still does everything in his

power to successfully manage his Type 1 Diabetes. He routinely tracks what he eats and enjoys

trying new healthy recipes. Part of his success in controlling his diabetes can also be attributed to

his dedication to exercise. He works out every day, but he particularly enjoys the days he attends

jiu-jitsu classes. Mr. Chapman regularly attends classes at a local school, Gracie Jiu-Jitsu, where

he can learn the “gentle art”7 from some of the most famous names in the jiu-jitsu world. Although

Mr. Chapman is a beginner, only having a white belt, this new and exciting challenge gives him




6
  After leaving the Marines, Mr. Chapman chose to further his education, graduating summa cum
laude from Marymount College with a dual degree in criminology and sociology.
7
  See generally, NICOLAS GREGORIADES, JIU JITSU: BEYOND THE BLACK BELT: REFLECTIONS ON
THE GENTLE ART (2017).

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an opportunity to improve both his physical and mental health. Mr. Chapman finds that utilizing

this gentle art for exercise clears his mind and significantly reduces stress (and his blood sugar

numbers), allowing him to successfully manage all aspects of his busy and productive life.




       Mr. Chapman at a jiu-jitsu class with world-renowned jiu-jitsu practitioner, Phil Cardella.

       Despite his best efforts, though, Mr. Chapman has encountered some issues obtaining his

necessary medical care in the most effective manner. See 18 U.S.C. § 3553(a)(2)(D). While Mr.

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Chapman has made great strides in managing his health, supervised release makes it difficult to

meet with medical professionals. Mr. Chapman must utilize VA hospitals for his diabetes care;

however, supervised release makes attending doctor’s appointments at institutions such as the VA

hospital in D.C. difficult because Mr. Chapman lives in Maryland and must obtain permission to

travel across state lines. As this Court is well aware, Mr. Chapman’s particularly severe form of

Type 1 Diabetes requires Mr. Chapman to be able to easily schedule and attend appointments.

Pursuant to § 3553(a)(2)(D), early termination of supervised release would allow Mr. Chapman to

better coordinate his diabetes care with health-care providers by making it easier for him to access

veterans’ hospitals in the District of Columbia.

       Pursuant to § 3583(e)(1), Mr. Chapman’s success in following the terms of his supervised

release with no complications for nearly a year and a half demonstrates that continued supervision

is not in the interest of justice. He frequently communicates with his Probation Officer Carrie Lacy

to ensure that he successfully complies with the terms of his release. Upon conferral with Ms.

Lacy, she expressed to undersigned counsel that Mr. Chapman has been compliant and

cooperative, with no issues on supervised release. Mr. Chapman has no recent arrests or

convictions and no ongoing pattern of criminal behavior. He maintains space from his co-

defendants and has no desire to communicate with any of them. Rather, Mr. Chapman’s days are

filled with family, exercise, his faith, and his students. Mr. Chapman does not drink alcohol or take

drugs; in fact, he has not had a drop of alcohol in 25 years, since converting to Islam. In the fifteen

months Mr. Chapman has been on supervised release, he has been drug tested only once, indicating

his Probation Officer does not believe testing is necessary. Mr. Chapman has complied with all

terms of supervision, he has no history of violence, he has no recent arrests or convictions, he has

not engaged in alcohol or drug abuse, there is no identifiable risk to the safety of any identifiable



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victim, and there is no identifiable risk to public safety. Given the lack of conduct indicating a risk

of future criminal activity, continuation of supervised release is unwarranted.8

       Mr. Chapman’s success in reintegrating into the community is clear in his dedication to his

family, his students, his health, and his compliance with the terms of his supervised release. Similar

conduct has been found to warrant early termination for other defendants. See, e.g., United States

v. Little, No. 3:10-cr-00027-MOC, 2014 WL 1875000 (W.D.N.C. May 8, 2014); United States v.

Belle, No. 3:05-CR-00021, 2012 WL 2367172 (W.D. Va. June 21, 2012). Mr. Chapman is a

nonviolent person who does not display any ongoing pattern of criminal conduct. He has complied

with all terms of his release and has established that he does not present a risk to anyone in the

community. Thus, continued supervision is unwarranted and not in the interests of justice. In

support of this motion, Mr. Chapman offers multiple letters of support. See Exhibits 9–22.




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  In addition to consideration of the sentencing factors set forth in 18 U.S.C. § 3553, the Court may
consider the criteria adopted by the Judicial Conference Committee on Criminal Law. While these
criteria “may not be binding on the lower courts, they are ‘at the very least entitled to respectful
consideration.’” Hollingsworth v. Perry, 558 U.S. 183, 194 (2010). The criteria are articulated in
Monograph 109, which outlines several factors Probation Officers should use to assess whether
individuals are suitable for early termination of supervised release. The factors are as follows:
         1.     Stable community reintegration (e.g., residence, family, employment);
         2.     Progressive strides toward supervision objectives and in compliance with all
                conditions of supervision;
         3.     No aggravated role in the offense of conviction, particularly large drug or fraud
                offenses;
         4.     No history of violence (e.g., sexually assaultive, predatory behavior, or domestic
                violence);
         5.     No recent arrests or convictions (including unresolved pending charges), or
                ongoing, uninterrupted patterns of criminal conduct;
         6.     No recent evidence of alcohol or drug abuse;
         7.     No recent psychiatric episodes;
         8.     No identifiable risk to the safety of any identifiable victim; and
         9.     No identifiable risk to the public safety based on the Risk Prediction
                Index (RPI).
As outlined above, consideration of these factors with regard to Mr. Chapman supports
the conclusion that termination of supervised release is warranted in his case.
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                                          CONCLUSION

       Mr. Chapman’s conduct since his arrest, during his time in prison, and while on supervised

release demonstrate that he is qualified for early termination of supervised release. Accordingly,

in the interest of justice, Mr. Chapman respectfully requests that this Court enter an order for early

termination of supervised release pursuant to 18 U.S.C. § 3583(e)(1).

Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

       I hereby certify that on November 5, 2019, I electronically filed the foregoing with the

Clerk of Court for the Eastern District of Virginia using the CM/ECF system, which will send

notification of such filing to the following:

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